Case 2:23-cv-06188-JMW Document 71 Filed 10/19/23 Page 1 of 3 PageID #: 1683

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                                                                             October 19, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. James M. Wicks, U.S.M.J.
100 Federal Plaza
Courtroom 1020
Central Islip, NY 11722-4438
       Re:     Superb Motors Inc., et al. v. Deo, et al.
               Case No.: 2:23-cv-6188 (JMW)_______

Dear Judge Wicks:
       This firm, together with Cyruli Shanks & Zizmor LLP, represents the Plaintiffs in the
above-referenced case.

        Plaintiffs write pursuant to ¶ 3(C)(1) of this Court’s Individual Practice Rules (the
“Practices”) to inform the Court that they have served, but not filed, their motion to disqualify
Harry R. Thomasson, Esq. as counsel for Defendants Anthony Deo, Sarah Deo, Dwight
Blankenship, Marc Merckling, Michael Laurie, Car Buyers NYC Inc., Gold Coast Cars of Syosset
LLC, Gold Coast Cars of Sunrise LLC, Gold Coast Motors Automotive Group LLC, Gold Coast
Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of Smithtown LLC,
and UEA Premier Motors Corp. (collectively hereinafter the “Deo Defendants”) on Wednesday,
October 18, 2023.

       Although on October 18, 2023 Plaintiffs proposed a briefing schedule to the Deo
Defendants, through Mr. Thomasson, of November 1, 2023 for opposition papers and November
8, 2023 for Plaintiffs’ reply papers in further support, the Plaintiffs have received no response.

       Plaintiffs believe this motion should be heard with the greatest of urgency so as not to
unnecessarily interfere with, or otherwise affect, the discovery schedule entered by this Court.
Being that Mr. Thomasson has not timely responded, has in the past a sought unusually long
response times, demonstrated a failure to meet court deadlines, and has failed to appear for
conferences pursuant to this Court’s Orders, we respectfully request that this Court enter the
aforementioned proposed briefing schedule pursuant to ¶ 3(C)(1)(B) of the Practices and as
otherwise set forth in Local Civil Rule 6.1(b).

       The Plaintiffs thank this honorable Court for its time and attention to this case.
Case 2:23-cv-06188-JMW Document 71 Filed 10/19/23 Page 2 of 3 PageID #: 1684




Dated: Lake Success, New York
       October 19, 2023            Respectfully submitted,

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1581 Hylan Blvd Auto LLC,           Michael Laurie,
1580 Hylan Blvd Auto LLC,           Car Buyers NYC Inc.,
1591 Hylan Blvd Auto LLC,           Gold Coast Cars of Syosset LLC,
1632 Hylan Blvd Auto LLC,           Gold Coast Cars of Sunrise LLC,
1239 Hylan Blvd Auto LLC,           Gold Coast Motors Automotive Group LLC,
2519 Hylan Blvd Auto LLC,           Gold Coast Motors of LIC LLC,
76 Fisk Street Realty LLC,          Gold Coast Motors of Roslyn LLC,
446 Route 23 Auto LLC,              Gold Coast Motors of Smithtown LLC,
Island Auto Management, LLC,        and UEA Premier Motors Corp.
Brian Chabrier,
Joshua Aaronson, and
Jory Baron




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Case 2:23-cv-06188-JMW Document 71 Filed 10/19/23 Page 3 of 3 PageID #: 1685




VIA ECF                                 VIA ECF
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